Case 2:20-cv-12734-MAG-EAS ECF No. 161-11, PageID.7950 Filed 10/10/23 Page 1 of 5




            EXHIBIT
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                          Case 2:20-cv-12734-MAG-EAS ECF No. 161-11, PageID.7951 Filed 10/10/23 Page 2 of 5


                   Check                                                  Not Return                          Same Day 2nd Day    Employee
       Tour        Out/In       UTC Time Stamp      Date       UTC Time Same Date Raw Time and Date Data      Duration Duration   Number
       S0000102413 Out           20,171,009,103,121 10/9/2017    10:31:21            430170.4384375                               01600
       S0000102413 In            20,171,009,180,339 10/9/2017    18:03:39            430170.752534722222222     7:32:18           01600
       S0000102450 Out           20,171,010,105,357 10/10/2017   10:53:57            430180.454131944444444                       01600
       S0000102450 In            20,171,010,182,358 10/10/2017   18:23:58            430180.766643518518519     7:30:01           01600
       S0000102515 Out           20,171,011,102,328 10/11/2017   10:23:28            430190.432962962962963                       01600
       S0000102515 In            20,171,011,185,302 10/11/2017   18:53:02            430190.786828703703704     8:29:34           01600
       S0000102627 Out           20,171,016,103,456 10/16/2017   10:34:56            430240.440925925925926                       01600
       S0000102627 In            20,171,016,185,252 10/16/2017   18:52:52            430240.786712962962963     8:17:56           01600
       S0000102666 Out           20,171,017,102,652 10/17/2017   10:26:52            430250.435324074074074                       01600
       S0000102666 In            20,171,017,181,019 10/17/2017   18:10:19            430250.757164351851852     7:43:27           01600
       S0000102722 Out           20,171,018,103,520 10/18/2017   10:35:20            430260.441203703703704                       01600
       S0000102722 In            20,171,018,181,055 10/18/2017   18:10:55            430260.757581018518518     7:35:35           01600
       S0000102749 Out           20,171,019,104,336 10/19/2017   10:43:36            430270.446944444444444                       01600
       S0000102749 In            20,171,019,191,510 10/19/2017   19:15:10            430270.802199074074074     8:31:34           01600
       S0000102803 Out           20,171,020,103,128 10/20/2017   10:31:28            430280.438518518518519                       01600
       S0000102803 In            20,171,020,180,741 10/20/2017   18:07:41            430280.755335648148148     7:36:13           01600
       S0000103064 Out           20,171,030,104,918 10/30/2017   10:49:18            430380.450902777777778                       01600
       S0000103064 In            20,171,030,185,707 10/30/2017   18:57:07            430380.789664351851852     8:07:49           01600
       S0000103108 Out           20,171,031,104,135 10/31/2017   10:41:35            430390.445543981481481                       01600
       S0000103108 In            20,171,031,183,716 10/31/2017   18:37:16            430390.77587962962963      7:55:41           01600
       S0000103230 Out           20,171,103,102,848 11/3/2017    10:28:48            430420.436666666666667                       01600
       S0000103230 In            20,171,103,185,006 11/3/2017    18:50:06            430420.784791666666667     8:21:18           01600
       S0000103278 Out           20,171,106,113,819 11/6/2017    11:38:19            430450.48494212962963                        01600
       S0000103278 In            20,171,106,192,429 11/6/2017    19:24:29            430450.808668981481481     7:46:10           01600
       S0000103340 Out           20,171,107,113,209 11/7/2017    11:32:09            430460.480659722222222                       01600
       S0000103340 In            20,171,107,191,420 11/7/2017    19:14:20            430460.80162037037037      7:42:11           01600
       S0000103382 Out           20,171,108,113,831 11/8/2017    11:38:31            430470.485081018518519                       01600
       S0000103382 In            20,171,108,185,559 11/8/2017    18:55:59            430470.788877314814815     7:17:28           01600
       S0000103414 Out           20,171,109,113,059 11/9/2017    11:30:59            430480.479849537037037                       01600
       S0000103414 In            20,171,109,191,056 11/9/2017    19:10:56            430480.799259259259259     7:39:57           01600
       S0000103471 Out           20,171,110,113,910 11/10/2017   11:39:10            430490.485532407407407                       01600
       S0000103471 In            20,171,110,193,131 11/10/2017   19:31:31            430490.813553240740741     7:52:21           01600




Guy vs Absopure Water Company                                                                                                           ABS 003751
USDC Case No.: 20-cv-12734
                          Case 2:20-cv-12734-MAG-EAS ECF No. 161-11, PageID.7952 Filed 10/10/23 Page 3 of 5


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       Tour        Out/In       UTC Time Stamp      Date       UTC Time Same Date Raw Time and Date Data      Duration Duration   Number
       S0000103505 Out           20,171,113,112,949 11/13/2017   11:29:49            430520.479039351851852                       01600
       S0000103505 In            20,171,113,195,650 11/13/2017   19:56:50            430520.831134259259259     8:27:01           01600
       S0000103548 Out           20,171,114,113,541 11/14/2017   11:35:41            430530.483113425925926                       01600
       S0000103548 In            20,171,114,194,525 11/14/2017   19:45:25            430530.823206018518518     8:09:44           01600
       S0000103592 Out           20,171,115,114,143 11/15/2017   11:41:43            430540.487303240740741                       01600
       S0000103592 In            20,171,115,193,658 11/15/2017   19:36:58            430540.817337962962963     7:55:15           01600
       S0000103632 Out           20,171,116,112,435 11/16/2017   11:24:35            430550.475405092592593                       01600
       S0000103632 In            20,171,116,181,742 11/16/2017   18:17:42            430550.762291666666667     6:53:07           01600
       S0000103682 Out           20,171,117,112,754 11/17/2017   11:27:54            430560.477708333333333                       01600
       S0000103682 In            20,171,117,190,255 11/17/2017   19:02:55            430560.79369212962963      7:35:01           01600
       S0000103717 Out           20,171,118,111,204 11/18/2017   11:12:04            430570.466712962962963                       01600
       S0000103717 In            20,171,118,143,443 11/18/2017   14:34:43            430570.60744212962963      3:22:39           01600
       S0000103774 Out           20,171,120,114,838 11/20/2017   11:48:38            430590.492106481481482                       01600
       S0000103774 In            20,171,120,180,610 11/20/2017   18:06:10            430590.754282407407407     6:17:32           01600
       S0000103801 Out           20,171,121,112,819 11/21/2017   11:28:19            430600.477997685185185                       01600
       S0000103801 In            20,171,121,185,217 11/21/2017   18:52:17            430600.78630787037037      7:23:58           01600
       S0000103846 Out           20,171,122,111,546 11/22/2017   11:15:46            430610.469282407407407                       01600
       S0000103846 In            20,171,122,191,653 11/22/2017   19:16:53            430610.803391203703704     8:01:07           01600
       S0000103918 Out           20,171,127,112,718 11/27/2017   11:27:18            430660.477291666666667                       01600
       S0000103918 In            20,171,127,190,219 11/27/2017   19:02:19            430660.793275462962963     7:35:01           01600
       S0000103948 Out           20,171,128,113,816 11/28/2017   11:38:16            430670.484907407407407                       01600
       S0000103948 In            20,171,128,192,457 11/28/2017   19:24:57            430670.808993055555555     7:46:41           01600
       S0000104000 Out           20,171,129,113,534 11/29/2017   11:35:34            430680.483032407407407                       01600
       S0000104000 In            20,171,129,195,547 11/29/2017   19:55:47            430680.830405092592593     8:20:13           01600
       S0000104049 Out           20,171,130,113,927 11/30/2017   11:39:27            430690.485729166666667                       01600
       S0000104049 In            20,171,130,195,939 11/30/2017   19:59:39            430690.833090277777778     8:20:12           01600
       S0000104081 Out           20,171,201,115,644 12/1/2017    11:56:44            430700.497731481481481                       01600
       S0000104081 In            20,171,201,203,826 12/1/2017    20:38:26            430700.860023148148148     8:41:42           01600
       S0000104234 Out           20,171,206,133,400 12/6/2017    13:34:00            430750.565277777777778                       01600
       S0000104234 In            20,171,206,203,512 12/6/2017    20:35:12            430750.857777777777778     7:01:12           01600
       S0000104278 Out           20,171,207,113,421 12/7/2017    11:34:21            430760.4821875                               01600
       S0000104278 In            20,171,207,201,203 12/7/2017    20:12:03            430760.841701388888889     8:37:42           01600




Guy vs Absopure Water Company                                                                                                           ABS 003752
USDC Case No.: 20-cv-12734
                          Case 2:20-cv-12734-MAG-EAS ECF No. 161-11, PageID.7953 Filed 10/10/23 Page 4 of 5


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       Tour        Out/In       UTC Time Stamp      Date       UTC Time Same Date Raw Time and Date Data      Duration Duration   Number
       S0000104308 Out           20,171,208,123,723 12/8/2017    12:37:23            430770.525960648148148                       01600
       S0000104308 In            20,171,208,185,741 12/8/2017    18:57:41            430770.79005787037037      6:20:18           01600
       S0000104339 Out           20,171,211,114,122 12/11/2017   11:41:22            430800.487060185185185                       01600
       S0000104339 In            20,171,211,192,108 12/11/2017   19:21:08            430800.806342592592593     7:39:46           01600
       S0000104391 Out           20,171,212,114,440 12/12/2017   11:44:40            430810.489351851851852                       01600
       S0000104391 In            20,171,212,193,509 12/12/2017   19:35:09            430810.816076388888889     7:50:29           01600
       S0000104450 Out           20,171,213,113,425 12/13/2017   11:34:25            430820.482233796296296                       01600
       S0000104450 In            20,171,213,191,422 12/13/2017   19:14:22            430820.801643518518519     7:39:57           01600
       S0000104489 Out           20,171,214,115,016 12/14/2017   11:50:16            430830.493240740740741                       01600
       S0000104489 In            20,171,214,200,731 12/14/2017   20:07:31            430830.838553240740741     8:17:15           01600
       S0000104531 Out           20,171,215,113,922 12/15/2017   11:39:22            430840.485671296296296                       01600
       S0000104531 In            20,171,215,202,947 12/15/2017   20:29:47            430840.854016203703704     8:50:25           01600
       S0000104558 Out           20,171,218,113,819 12/18/2017   11:38:19            430870.48494212962963                        01600
       S0000104558 In            20,171,218,190,605 12/18/2017   19:06:05            430870.795891203703704     7:27:46           01600
       S0000104634 Out           20,171,219,113,135 12/19/2017   11:31:35            430880.480266203703704                       01600
       S0000104634 In            20,171,219,195,326 12/19/2017   19:53:26            430880.828773148148148     8:21:51           01600
       S0000104676 Out           20,171,220,113,201 12/20/2017   11:32:01            430890.48056712962963                        01600
       S0000104676 In            20,171,220,193,056 12/20/2017   19:30:56            430890.813148148148148     7:58:55           01600
       S0000104722 Out           20,171,221,115,029 12/21/2017   11:50:29            430900.493391203703704                       01600
       S0000104722 In            20,171,221,190,150 12/21/2017   19:01:50            430900.792939814814815     7:11:21           01600
       S0000104771 Out           20,171,222,113,736 12/22/2017   11:37:36            430910.484444444444444                       01600
       S0000104771 In            20,171,222,180,102 12/22/2017   18:01:02            430910.750717592592593     6:23:26           01600
       S0000104799 Out           20,171,226,120,258 12/26/2017   12:02:58            430950.502060185185185                       01600
       S0000104799 In            20,171,226,191,045 12/26/2017   19:10:45            430950.799131944444444     7:07:47           01600
       S0000104830 Out           20,171,227,114,501 12/27/2017   11:45:01            430960.489594907407407                       01600
       S0000104830 In            20,171,227,190,635 12/27/2017   19:06:35            430960.796238425925926     7:21:34           01600
       S0000104897 Out           20,171,228,113,442 12/28/2017   11:34:42            430970.482430555555556                       01600
       S0000104897 In            20,171,228,192,128 12/28/2017   19:21:28            430970.806574074074074     7:46:46           01600
       S0000104945 Out           20,171,229,114,856 12/29/2017   11:48:56            430980.492314814814815                       01600
       S0000104945 In            20,171,229,184,413 12/29/2017   18:44:13            430980.780706018518519     6:55:17           01600
       S0000104960 Out           20,171,230,113,954 12/30/2017   11:39:54            430990.486041666666667                       01600
       S0000104960 In            20,171,230,145,959 12/30/2017   14:59:59            430990.624988425925926     3:20:05           01600




Guy vs Absopure Water Company                                                                                                           ABS 003753
USDC Case No.: 20-cv-12734
                          Case 2:20-cv-12734-MAG-EAS ECF No. 161-11, PageID.7954 Filed 10/10/23 Page 5 of 5


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       Tour        Out/In       UTC Time Stamp      Date       UTC Time Same Date Raw Time and Date Data      Duration Duration   Number
       S0000104985 Out           20,180,102,114,118   1/2/2018   11:41:18            431020.487013888888889                       01600
       S0000104985 In            20,180,102,192,255   1/2/2018   19:22:55            431020.807581018518518     7:41:37           01600
       S0000105047 Out           20,180,103,114,943   1/3/2018   11:49:43            431030.492858796296296                       01600
       S0000105047 In            20,180,103,193,332   1/3/2018   19:33:32            431030.814953703703704     7:43:49           01600
       S0000105093 Out           20,180,104,120,701   1/4/2018   12:07:01            431040.504872685185185                       01600
       S0000105093 In            20,180,104,202,344   1/4/2018   20:23:44            431040.849814814814815     8:16:43           01600
       S0000105134 Out           20,180,105,114,934   1/5/2018   11:49:34            431050.49275462962963                        01600
       S0000105134 In            20,180,105,190,518   1/5/2018   19:05:18            431050.795347222222222     7:15:44           01600
       S0000105202 Out           20,180,109,114,145   1/9/2018   11:41:45            431090.487326388888889                       01600
       S0000105202 In            20,180,109,195,702   1/9/2018   19:57:02            431090.831273148148148     8:15:17           01600
       S0000105248 Out           20,180,110,114,821 1/10/2018    11:48:21            431100.491909722222222                       01600
       S0000105248 In            20,180,110,193,003 1/10/2018    19:30:03            431100.812534722222222     7:41:42           01600
       S0000105316 Out           20,180,111,115,327 1/11/2018    11:53:27            431110.495451388888889                       01600
       S0000105316 In            20,180,111,185,413 1/11/2018    18:54:13            431110.787650462962963     7:00:46           01600
       S0000105361 Out           20,180,112,120,321 1/12/2018    12:03:21            431120.502326388888889                       01600
       S0000105361 In            20,180,112,194,539 1/12/2018    19:45:39            431120.823368055555556     7:42:18           01600
       S0000105392 Out           20,180,115,113,633 1/15/2018    11:36:33            431150.483715277777778                       01600
       S0000105392 In            20,180,115,192,715 1/15/2018    19:27:15            431150.810590277777778     7:50:42           01600
       S0000105449 Out           20,180,116,114,732 1/16/2018    11:47:32            431160.491342592592593                       01600
       S0000105449 In            20,180,116,195,241 1/16/2018    19:52:41            431160.828252314814815     8:05:09           01600
       S0000105490 Out           20,180,117,113,948 1/17/2018    11:39:48            431170.485972222222222                       01600
       S0000105490 In            20,180,117,210,804 1/17/2018    21:08:04            431170.880601851851852     9:28:16           01600
       S0000105535 Out           20,180,118,115,852 1/18/2018    11:58:52            431180.499212962962963                       01600
       S0000105535 In            20,180,118,201,209 1/18/2018    20:12:09            431180.841770833333333     8:13:17           01600
       S0000105570 Out           20,180,119,120,121 1/19/2018    12:01:21            431190.5009375                               01600
       S0000105570 In            20,180,119,193,211 1/19/2018    19:32:11            431190.814016203703704     7:30:50           01600
       S0000105627 Out           20,180,122,113,422 1/22/2018    11:34:22            431220.482199074074074                       01600
       S0000105627 In            20,180,122,201,828 1/22/2018    20:18:28            431220.846157407407407     8:44:06           01600
       S0000105669 Out           20,180,123,113,404 1/23/2018    11:34:04            431230.481990740740741                       01600
       S0000105669 In            20,180,123,194,050 1/23/2018    19:40:50            431230.820023148148148     8:06:46           01600
       S0000105733 Out           20,180,124,114,717 1/24/2018    11:47:17            431240.491168981481481                       01600
       S0000105733 In            20,180,124,194,540 1/24/2018    19:45:40            431240.82337962962963      7:58:23           01600




Guy vs Absopure Water Company                                                                                                           ABS 003754
USDC Case No.: 20-cv-12734
